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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



United States of America            )
       Complainant                  )
                                    )                  Case No. 1:21-CR-00028-APM-19
      v.                            )
                                    )
James Beeks                         )                  The Honorable Amit P. Mehta
      Defendant                     )
____________________________________)

     UNOPPOSED MOTION TO PROVIDE TRAVEL FUNDS FOR THE DEFENDANT

        The Defendant, known to this Court as James Beeks, hereby respectfully moves this

Honorable Court to direct the United States Marshal for the District of Columbia to pay for his

non-custodial travel to the District of Columbia so that he can appear at his trial on July 10,

2023.

        IN SUPPORT OF HIS MOTION, the Defendant states:

   1. The Defendant has been charged with six counts of a nine-count indictment, but he has

        entered into an agreement to have a stipuluated trial before the Court, sitting without a

        jury. During this Court’s July 5 status hearing, counsel for the government and both

        defendants expressed their belief that this stipulated trial should be done in a single day,

        thus relieving the Court, all counsel of record and dozens of prospective jurors from a

        trial that would have lasted several weeks.



   2. The trial in this matter is scheduled to begin on July 10, 2023 at 10:00 a.m. As stated

        above, the parties believe that the trial will be completed in a single day.
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3. The Defendant does not have the means to pay for the expenses incurred in getting to and

   from Washington for trial, let alone associated costs such as lodging and food.



4. Though the Defendant is acting as his own attorney, he has been found to be indigent and

   the Court has previously appointed Standby Counsel to assist him. An updated CJA-23

   affidavit is attached to this Motion.




5. The Court has the authority, pursuant to 18 U.S.C. § 4285, to direct the United States

   Marshal to arrange and pay for the Defendant’s travel to this District for trial, and to

   furnish him with money for subsistence expenses.



6. The Defendant and Standby Counsel believe that the Defendant can arrive in Washington

   as early as Saturday evening, allowing them a full day to prepare for trial in person.

   Assuming the Defendant is either not convicted or not ordered into custody pending

   sentencing immediately after a potential finding of guilt, he would begin his journey

   home on Monday evening.




7. The United States does not oppose this Motion.



8. Paying for the Defendant’s expenses to travel to Washington, D.C. and his subsistence

   while he is here would serve the interests of justice.
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WHEREFORE the Defendant, through his Standby Counsel, respectfully requires that this Court

direct the United States Marshal for the District of Columbia to pay for the costs of driving to

Washington, D.C. from his home in Orlando, Florida, and to pay the costs of his subsistence

while he is here for his trial.



                                                     Respectfully Submitted,

                                                     ___________/S/________________
                                                     Gregory T. Hunter, Esquire
                                                     Virginia State Bar Number 45489
                                                     Standby Counsel for the Defendant
                                                     2111 Wilson Boulevard
                                                     8th Floor
                                                     Arlington, Virginia 22201
                                                     (703) 966-7226 telephone
                                                     (703) 527-0810 facsimile
                                                     greghunter@mail.com
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 6h day of July, 2023, an exact copy of the foregoing
Appearance of Counsel was filed with the Clerk of the Court using the CM/ECF system, causing
a Notice of Electronic Filing to be served upon all counsel of record.


                                                 ___________/S/________________
                                                 Gregory T. Hunter, Esquire
                                                 Virginia State Bar Number 45489
                                                 Standby Counsel for the Defendant
                                                 2111 Wilson Boulevard
                                                 8th Floor
                                                 Arlington, Virginia 22201
                                                 (703) 966-7226 telephone
                                                 (703) 527-0810 facsimile
                                                 greghunter@mail.com
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     Rey 321)
                                                   F I N A N C I A L A F F I D A V I |T
                      __IN SUPPORT OF REQUES! FOR ATTORNEY, EXPERI, O R OTH ER SERVICES W I T H O U T PAYMENT OF F E R


    IN THE U N I T E D STATES      §&   DISTRICT COURT             CA   COURT OF APPEALS             DO      OTHER (Specify Below)
    IN T H E C A S E O F                                                                             VOR



 [United S t a t e s of A m e r i c a         V.     J a m e s Beeks

         PERSON REPRESENTED(Show j o u r f d ! name)                                                     1   8 Def          t=
                                                                                                                                 Adult

    James Beeks                                                                                          20    Defendant - Juvenile

                                                                                                         3    Appellant
                                                                                                         4     Probation Violator
                                                                                                         5 D Supervised Release Violator
         CHARGE/OFFENSE (Describe yfapplicable & check box?+)      6    Felony                           6 D Habeas P e t i t i o n e r

    Conspiracy to Obstruct an Official Proceeding,                 O Misdemeanor                         7 ) 2255 Petitioner
    Civi Disorder and Aiding and Abetting                                                                & [ ] Material Witness

                                                                                                         9 DOther (Specyy


                                        A N S W E R S TO Q U E S T I O N S R E G A R D I N G A B I L I T Y T O PAY

                                                Do you have aj o b ?          [JYes     [No
                     EMPLOYMENT                 I F YES, how much do you earn per month? 2000
                                                Will you still have       a   j o b after this arrest?       (J)Yes        [INo           PJUnknown

                                                Do you own any o f the following, and i f so, what is it worth?
                                                                   A P P R O X I M A T E VALUE                  DESCRIPTION & A M O U N T O W E D
    INCOME                                      Home               $
     ASSETS             PROPERTY                               $ 15000
                                               Cav Truck/Vehicle                                                10000

                                               Boat                $
                                               Stocks/bonds        $
                                               Otherproperty       $

                            CASH                Do you have any cash, or money in savings or checking accounts? ( ] Y e s                                  [ N o
                            BANK
                                                I F YES, give the total approximate amount after monthly expenses                               $§
                                                                                                                                                     100
                        ACCOUNTS
                             H o w many people do you financially support?                  4


                                                   BILLS & DEBTS                 M O N T H L Y EXPENSE                           TOTAL DEBT
                                                   Housing                       $975                                            $
                                                   Groceries                     $200                                            $
                                                 Medical expenses                $                                               $
                                                Utilities                        $250                                            $
                                                 Credit cards                    $75                                             $
                                                 Car/Truck/Vehicle               $400                                            $
                                                Childcare                        $                                               $
                                                   Child support                 $                                               $
                                                   Insurance                     $350                                            $
                                                   Loans                         $                                               $
                                                   Fines                                                                         $
                                                                                                                                 $
